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                         EM THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF OHIO
                                      EASTERN DIVISION



 Meng Huang,                                                  CaseNo:2:19-cv-1976

                Plaintiff,                                    Judge Graham
        V.
                                                              Magistrate Judge Vascura
 The Ohio State University and Giorgio Rizzoni,

                Defendants.

                                              ORDER

        This matter came before the Court for a Final Pretrial Conference on April 7, 2023 at 10:00
 AM. This Order memorializes the proceedings of the conference.
        First, in the interests ofjudicial efficiency and to aid thejury, the Court will separate the
 issuesto beh-ied. SeeFed. R. Civ. P. 42(b). The first stageoftrial will be on the issueofliability.
 The second stagewill be on the issueofcompensatory damages, andthe third stagewill be onthe
 issue ofpunitive damages. As such, Defendant'sMotionto Bifurcate (ECFNo. 159) is granted.
        In the first stage of the trial, the Court will ask the jury to find whether Plaintiffwas
 subjected to unwanted touching by the Defendant. The Court will ask the jury to make these
 findingsdividedinto allegedincidentsat eachofseveral locations, includinga hotel andrestaurant
 in Shanghai, China, a Columbus, Ohio Italian restaurant, Defendant's office and the lab at the
 Center for Automotive Research on the campus of The Ohio State University, Defendant's
 automobile, and Defendant's home in Columbus, Ohio.
        Ifthejury findsPlaintiffwas subjectedto unwantedtouchingbytheDefendant,thesecond
 stageoftrial will focus on compensatory damagesto whichPlaintiffmaybe entitled. Theportion
 of Defendant's Motion in Limine (ECF No. 160) to exclude evidence of Defendant's alleged
 manipulation, coercion, andinfluenceis denied.Whilethis evidenceis excludedfrom theliability
 stageoftrial. Plaintiffmay present this kind ofevidence at the second stageoftrial.
        Defendant's motion also seeks to exclude hearsay evidence of other Chinese students'
 experiences and ofmedical records ofPlaintiffs treatanent in China. In light ofPlaintiffs response
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that Plaintiff does not intend to introduce this evidence at trial (ECF No. 174), these portions of
the motion are denied as moot.

        Additionally, Defendant submitted a Motion in Limine requesting the Court exclude the
testimony of Dr. Roy Lubit, who is Plaintiffs current treating physician. (ECF No. 162.)
Defendant argues that Plaintiffs identification of this expert witness was not timely and would
thereforeprejudicethe Defendantif Dr. Lubitis allowedto testify. (Id.)
        Rule 37 ofthe Federal Rules of Civil Procedure forbids parties who fail to identify a witness
as required by Rule 26(a) or (e) from using that witness to supply evidence at trial "unless the
failure was substantially justified or is harmless. " The party wishing to introduce the evidence has
the burden of proving harmlessness. Roberts v. Galen ofVa., Inc., 325 F.3d 776, 782 (6th Cir.
2003). A "trial judge has broad discretion in the matter of the admission or exclusion of expert
evidence." United States v. Jones, 107 F.3d 1147, 1151 (6th Cir. 1997) (quoting parenthetically
Salemv. United States Lines Co., 370 U. S. 31, 35 (1962)).
        PlaintiffhasnotmettheburdenofprovingthatallowingDr. Lubitto testifyis substantially
justified or hamiless. Plaintiff did not identify Dr. Roy Lubit in her original disclosure reports.
(ECF No. 162 at PAGEID6912.) Plaintiffs counsel identifiedDr. Lubit as an expert for trial on
March 28, 2023 (ECF No. 162 at PAGEID 6920), well beyond the deadlines set in the preliminary
pretrial order. (ECF No. 75.) Plaintiff maintains that Dr. Lubit was timely disclosed as an expert
becausePlaintiffonly recently begantreatment withDr. Lubit. (ECFNo. 162 at PAGIEID6921.)
However, Plaintiffs recentbeginningoftreatment does not substantiallyjustify Plaintiffs delay.
Additionally, allowing Dr. Lubit to testify is not harmless, as Defendant became aware of
Plaintiff'sintentionto call Dr. Lubitto testifyjust overonemonthbeforetrial. As Plaintiffhasnot
provided sufficient grounds for the delay, nor has Plaintiff proven it would be harmless to allow
him to testify, Defendant's Motion in Limine to Exclude Testimony of Dr. Roy Lubit (ECF No.
 162) is granted.
        For the same reasons. Defendant's Motion in Limine to Exclude Testimony of Denise
Deschenes and ChiaothongYong (ECF No. 167) is granted in part to the extent that these late-
identifiedwitnessesare excludedfrom testifying due to anunreasonabledelay in disclosure.
        Regarding evidence of Plaintiffs lost income, the motion (id.) is denied. As Plaintiff, in
her discovery responses, previously indicated that evidence oflost income would be introduced at
trial, the Defendant had adequate knowledge of this claimed element of compensatory damage.
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 (ECF No. 167 at PAGEID 7020.) Plaintiffmay introduce evidence of lost wages at the second
 stage of trial.
         In conclusion, (1) Defendant's Motion to Bifurcate (ECF No. 159) is GRANTED; (2)
Defendant's Motion in Limine to Exclude Testimony of Plaintiff's Sole Remaining Claim,
Exclude Hearsay Evidence, and Exclude Testimony Regarding Testimony Regarding Plaintiff's
MedicalConditionswhentheRecordswerenotProduced(ECFNo. 160)is GRANTEDINPART
AND DENIEDIN PART; (3) Defendant'sMotion in Limine to ExcludeTestimony ofDr. Roy
Lubit(ECFNo. 162) is GRANTED;and(4) Defendant'sMotionin Limineto ExcludeTestimony
of Denise Deschenes and Chiaothong Yong and Exclude Compensatory Damages Evidence at
Trial (ECF No. 167) is GRANTED IN PART AND DENIEDIN PART.
         ITISSOORDERD.                                      Mte ^
                                                       JAMES L. GRAHAM
DATE: April 7, 2023                                    United States District Judge
